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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION


  QBE SYNDICATE 1036                                §   CIVIL ACTION NO. 6:20-CV-00554
                                                    §
  v.                                                §   JUDGE SUMMERHAYS
                                                    §
  COMPASS MINERALS LOUISIANA INC.                   §   MAGISTRATE JUDGE WHITEHURST
                                                    §


                                     JOINT STIPULATED FACTS

        In support of their cross-motions for summary judgment pursuant to Federal Rule of Civil

 Procedure 56, Plaintiff/Counterclaim Defendant QBE Syndicate 1036 (“QBE”) and

 Defendant/Counterclaim Plaintiff Compass Minerals Louisiana Inc. (“Compass”) have agreed

 upon the following joint stipulated facts:

        1.      Compass is a Delaware corporation with its principal place of business in Kansas,

 and operations in the United States, Canada, and the United Kingdom.

        2.      Compass is part of a multi-national mineral company that owns and operates

 multiple salt mines in North America and the United Kingdom, including the Cote Blanche salt

 mine located on Cote Blanche Island in St. Mary Parish, Louisiana.

        3.      Salt is a mineral.

        4.      Compass employs the “drill-and-blast” mining method/technique at the Cote

 Blanch salt mine, which Compass describes on its website as follows: “The drill-and-blast mining

 method begins by cutting into the rock salt face using specialized equipment. We then drill holes

 into the face and use explosives to break the salt into large rocks. Front-end loaders and trucks

 load and haul the salt to a crusher where it is reduced in size, loaded onto a conveyor belt and

 transported to a mill. The mill screens and crushes the rock salt to the customary size before the
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 salt is hoisted to the surface.”

           5.    Fire & Safety Specialists, Inc. (“FSS”) is a Louisiana corporation located in

 Maurice, Louisiana.

           6.    MC Electric LLC (“MCE”) is a Louisiana limited liability company located in

 Amelia, Louisiana.

           7.    On August 15, 2019, a fatal accident occurred at the Cote Blanche salt mine when

 an electrician employed by MCE, Shawn Clements, contacted an energized electrical circuit while

 attempting to install a new circuit for the fire suppression system at the salt mine.

           8.    The decedent’s representatives filed a wrongful death and survival lawsuit against

 Compass and FSS, entitled Clements, et al. v. Compass Minerals Louisiana, Inc., et al., pending

 in the 16th Judicial District Court for the Parish of St. Mary, State of Louisiana, No. 135048 (the

 “Clements Lawsuit”). The original petition for damages filed in the Clements Lawsuit is attached

 hereto as Exhibit “A.”

           9.    The Clements Lawsuit alleges that Clements’ employer, MCE, was hired by

 Compass to supply electrical support labor underground at Compass’s salt mine. Specifically, as

 alleged in the Clements Lawsuit, Mr. Clements was assigned the job of running a new dedicated

 120 VAC electrical circuit in the portion of the Cote Blanche salt mine referred to as the C-3

 trench.

           10.   FSS and MCE performed work for Compass at the salt mine pursuant to Purchase

 Orders that Compass issued to them. A copy of the FSS purchase order is attached to hereto as

 Exhibit “B,” and a copy of the MCE purchase order is attached hereto as Exhibit “C.”




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        11.     QBE issued a commercial general liability insurance policy to FSS bearing the

 Policy Number 19CGLN12380, for the period of May 28, 2019 to May 28, 2020 (the “FSS

 Policy”). A copy of the FSS Policy is attached hereto as Exhibit “D.”

        12.     QBE issued a commercial general liability insurance policy to MCE bearing the

 Policy Number 18CGLN12138, for the period of December 31, 2018 to December 31, 2019 (the

 “MC Electric Policy”). A copy of the MCE Policy is attached hereto as Exhibit “E.” (Collectively,

 the FSS Policy and the MCE Policy are referred to as the “Policies”).

        13.     Compass did not pay any premiums for the Policies.

        14.     Paragraph 6 of the Terms and Conditions of Purchase section of each Purchase

 Order (the “Indemnification Provision”) states:

        INDEMNIFICATION. TO THE EXTENT PERMITTED BY APPLICABLE
        LAW, SELLER SHALL INDEMNIFY, HOLD HARMLESS AND DEFEND
        COMPANY AND ITS AFFILIATE AND THEIR RESPECTIVE EMPLOYEES,
        OFFICERS, DIRECTORS, SHAREHOLDERS, INURERS, AGENTS AND
        REPRESENTATIVES (COLLECTIVELY, THE INDEMNIFIED PARTIES),
        FROM ALL CLAIMS, LIABILITIES, DAMAGES, SUITS, PROCEEDINGS,
        COSTS AND EXPENSES (INCLUDING REASONABLE ATTORNEYS FEES)
        (COLLECTIVELY, THE LOSSES), FOR ANY DAMAGE, INJURY, DEATH,
        LOSS OR DESTRUCTION OF ANY KIND RELATING TO OR ARISING OUT
        OF THE PERFORMANCE OR BREACH OF THIS AGREEMENT,
        INCLUDING WITHOUT LIMITATION, LOSS OR DAMAGE TO ANY
        PROPERTY OR INJURY TO OR DEATH OF ANY PERSON (INCLUDING,
        WITHOUT LIMITATION, SELLER, ITS EMPLOYEES, AND ITS AGENTS),
        WHETHER ARISING AS A WORKERS COMPENSATION CLAIM OR
        UNDER THEORIES OF NEGLIGENCE, TORT, STRICT LIABILITY,
        INTENTIONAL MISCONDUCT, OR FAULT OF ANY KIND. THE PARTIES
        AGREE THAT THE FOREGOING INDEMNIFICATION SHALL APPLY TO
        LOSSES INCURRED BY THE PARTIES IN CONNECTION WITH CLAIMS
        BETWEEN THEM.

        15.     Paragraph 7 of the Terms and Conditions of Purchase section of each Purchase

 Order (the “Additional Insured Provision”) states in pertinent part:

        INSURANCE. . . . In advance of any work in connection with this Agreement and
        on Company’s request, Seller shall provide Company with a certificate of insurance



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        naming Company as an additional insured on each of the policies required by this
        Agreement (other than Worker’s Compensation and Employer’s Liability). . . .

        16.     Via letter dated October 1, 2020, Compass sought from QBE defense, indemnity,

 and coverage under the MCE Policy for the Clements Lawsuit on the basis “there was in full force

 and effect a contract dated August 1, 2019 between Compass Minerals Louisiana Inc. and M.C.

 Electric, LLC which provides that M.C. Electric, LLC shall indemnify, hold harmless, and defend

 Compass Minerals Louisiana Inc. from all claims, liabilities, damage, injury, death, loss or

 destruction of any kind relating to or arising out of the performance or breach of the agreement,

 including without limitation, injury to or death of any person (including without limitation, M.C.

 Electric, LLC, its employees and its agents), whether arising as a workers compensation claim or

 under theories of negligence tort, strict liability, intentional misconduct, or fault of any kind.” See

 Letter from Compass to MCE, attached hereto as Exhibit “F.”

        17.     Via letter dated October 1, 2020, Compass sought from QBE defense, indemnity,

 and coverage under the FSS for the Clements Lawsuit on the basis that “there was in full force and

 effect a contract dated August 8, 2019 between Compass Minerals Louisiana Inc. and Fire & Safety

 Specialists, Inc. which provides that Fire & Safety Specialists, Inc. shall indemnify, hold harmless,

 and defend Compass Minerals Louisiana Inc. from all claims, liabilities, damage, injury, death,

 loss or destruction of any kind relating to or arising out of the performance or breach of the

 agreement, including without limitation, injury to or death of any person, whether arising as a

 workers compensation claim or under theories of negligence tort, strict liability, intentional

 misconduct, or fault of any kind.” See Letter from Compass to FSS dated October 1, 2020,

 attached hereto as Exhibit “G.”

        18.     FSS invoiced Compass on August 31, 2019 via Invoice Number 0095459-IN for

 the services provided on August 15, 2019 for the semi-annual inspection of service work areas C-



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 3, C-18, and MCC room fire suppression systems covered by Purchase Order No. 19653362. See

 FSS Invoice Number 0095459-IN, dated 8/31/2019, attached hereto as Exhibit “H.”

        19.    MCE invoiced Compass on September 6, 2019 via Invoice No. 0111199 for

 underground electrical support provided in response to Purchase Order No. 19653243. See MCE

 Invoice Number 0111199, dated 9/6/2019, attached hereto as Exhibit “I.”

        Dated July 5, 2022.
                                             Respectfully submitted,

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                                                 -   and   -


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